Case 2:20-cv-06979-FMO-AS Document 61 Filed 10/16/20 Page 1 of 5 Page ID #:318
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                         UNITED STATES DISTRICT COURT
  7                     CENTRAL DISTRICT OF CALIFORNIA
  8
       DENIECE WAIDHOFER                           Case No.
  9                                                2:20−cv−06979−FMO−AS
  10
                     Plaintiff(s),                 ORDER SETTING SCHEDULING
  11                                               CONFERENCE
            v.
  12
       CLOUDFLARE, INC., et al.
  13
  14                Defendant(s).
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  17        PLEASE READ THIS ORDER CAREFULLY. IT DIFFERS IN SOME
  18    RESPECTS FROM THE LOCAL RULES.
  19        The term "Counsel," as used in this Order, includes parties appearing
  20    pro se.
  21        In an effort to comply with Fed. R. Civ. P. 1's mandate "to secure the just,
  22    speedy, and inexpensive determination of every action[,]" IT IS ORDERED as
  23    follows:
  24        1.     Counsel for the parties shall attend a scheduling conference on
  25    December 3, 2020, at 10:00 AM, in Courtroom 6D of the 1st Street Courthouse.
  26    Lead trial counsel must attend the scheduling conference, unless excused by
  27    the court for good cause shown in advance of the scheduling conference. When
  28    seeking permission not to attend, lead counsel must identify the person who will


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  1    appear by name and bar number and specify that person's involvement in the case.

  2    The court may choose to postpone the scheduling conference rather than to permit

  3    counsel other than lead counsel to attend. Local counsel may not appear at a

  4    scheduling conference in place of lead counsel. Counsel should not purport to be

  5    "co-lead" counsel as a means of avoiding this requirement.

  6         2.     No later than November 12, 2020, counsel for all appearing parties

  7    and all unrepresented appearing parties, if any, shall meet, in person, telephonically

  8    or via video conference, and discuss the matters set forth in Fed. R. Civ. P. 26(f)

  9    ("Rule 26(f)") as well as those items identified in paragraph 4, below.

  10        3.     No later than November 19, 2020, counsel for all appearing parties,

  11   and all unrepresented appearing parties, if any, shall file a Joint Rule 26(f) Report.

  12   A mandatory chambers copy of the Joint Rule 26(f) Report shall be delivered to

  13   the chambers drop box at the Clerk's Office, 4th Floor of the First Street Courthouse

  14   by 12:00 p.m. on the business day following the e-filing of the Joint Rule 26(f)

  15   Report.

  16        4.     The Joint Rule 26(f) Report shall be drafted by plaintiff (unless

  17   the parties agree otherwise) but shall be submitted and signed jointly. "Jointly"

  18   contemplates a single report, regardless of how many separately represented parties

  19   there are. The Joint Rule 26(f) Report shall specify the date of the scheduling

  20   conference on the caption page. It shall report on all matters described below,

  21   which include those required to be discussed by Rule 26(f) and Local Rule 26-1:

  22               a.     Statement of the Case: A short synopsis (not to exceed two

  23                     pages) of the main claims, counterclaims and affirmative

  24                     defenses.

  25               b.     Subject Matter Jurisdiction: A statement of the specific basis

  26                      of federal jurisdiction, including supplemental jurisdiction.

  27               c.     Legal Issues: A brief description of the key legal issues,

  28                      including any unusual substantive, procedural or evidentiary


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  1                    issues.

  2              d.    Parties, Evidence, etc.: A list of parties, percipient witnesses

  3                    and key documents on the main issues in the case. For conflict

  4                    purposes, corporate parties must identify all subsidiaries all

  5                    subsidiaries, parents and affiliates.

  6              e.    Insurance: Whether there is insurance coverage and the extent

  7                    of such coverage.

  8              f.    Magistrate Judge: Whether the parties consent to a mutually

  9                    agreeable magistrate judge from the court's Voluntary Consent

  10                   List to preside over this action for all purposes, including trial.

  11             g.    Discovery: A detailed discovery plan and a proposed

  12                   discovery cut-off date. If the parties anticipate calling expert

  13                   witnesses, they must propose a schedule for expert witness

  14                   disclosures (initial and rebuttal) and expert discovery cut−off

  15                   under Fed. R. Civ. P. 26(a)(2).

  16             h.    Motions: A statement of the likelihood of motions seeking to

  17                   add other parties or claims, file amended pleadings, transfer

  18                   venue, etc.

  19             i.    Class Certification: A proposed deadline for the filing of a

  20                   class certification motion, if applicable.

  21             j.    Dispositive Motions: A proposed cut-off date for dispositive

  22                   motions and a description of the issues or claims that any

  23                   party believes may be determined by such motions.

  24             k.    Settlement/Alternative Dispute Resolution (ADR):

  25                   A statement of what settlement discussions or written

  26                   communications have occurred (excluding any statement of

  27                   the terms discussed). Even if the parties receive a Notice to

  28                   Parties of Court-Directed ADR Program, the parties shall


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  1                    indicate their settlement preference - private mediation, the

  2                    assigned Magistrate Judge or an attorney from the court's ADR

  3                    Panel - in the Rule 26(f) report. No case will proceed to trial

  4                    unless all parties, including an officer (with full authority to

  5                    settle the case) of each corporate party, have appeared personally

  6                    at an ADR proceeding.

  7              l.   Pretrial Conference and Trial: The proposed dates for the

  8                   pretrial conference and trial.

  9              m.   Trial Estimate: A realistic estimate of the time required for

  10                  trial and whether trial will be by jury or by court. Each side

  11                  should specify (by number, not by name) how many witnesses

  12                  it contemplates calling. If the time estimate for trial given in

  13                  the Joint Rule 26(f) Report exceeds four court days, counsel

  14                  shall be prepared to discuss in detail the estimate.

  15             n.   Trial Counsel: The name(s) of the attorney(s) who will try

  16                  the case.

  17             o.   Independent Expert or Master: Whether this is a case where

  18                  the court should consider appointing a master pursuant to

  19                  Fed. R. Civ. P. 53 or an independent scientific expert. (The

  20                  appointment of a master may be especially appropriate if

  21                  there are likely to be substantial discovery disputes, numerous

  22                  claims to be construed in connection with a summary judgment

  23                  motion, a lengthy Daubert hearing, a resolution of a difficult

  24                  computation of damages, etc.)

  25             p.   Other Issues: A statement of any other issues affecting the

  26                  status or management of the case (e.g., unusually complicated

  27                  technical or technological issues, disputes over protective

  28                  orders, extraordinarily voluminous document production,


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  1                      non-English-speaking witnesses, ADA-related issues,

  2                      discovery in foreign jurisdictions, etc.) and any proposals

  3                      concerning severance, bifurcation or other ordering of proof.

  4          The Joint Rule 26(f) Report should set forth the above-described information

  5     under section headings corresponding to those in this Order.

  6          5.     Discovery is governed by the Federal Rules of Civil Procedure and

  7     applicable Local Rules of the court. Pro se litigants are entitled to discovery to

  8     the same extent as are litigants represented by counsel. The court allows discovery

  9     to commence as soon as the first answer or motion to dismiss is filed. The parties

  10    should note that discovery shall not be stayed while any motion is pending,

  11    including any motion to dismiss and/or motion for protective order. The parties

  12    are directed to conduct any necessary discovery as soon as possible, as the

  13    court is not inclined to grant any extensions of the discovery or other case-

  14    related deadlines.

  15         6.     Plaintiff's counsel or, if plaintiff is appearing pro se, defendant's

  16    counsel, shall provide this Order to any parties who first appear after the date

  17    of this Order and to parties who are known to exist but have not yet entered

  18    appearances.

  19         7.     The failure of any party or attorney to comply with the requirements

  20    of this Order, the Local Rules or the Federal Rules of Civil Procedure may result

  21    in sanctions being imposed.

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       Dated The 16th of October 2020                            /s/
  24                                                    Fernando M. Olguin
                                                     United States District Judge
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